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  Paul Tremblay, an individual and Mona Awad, an individual                                                   See Attachment 2
      E     &RXQW\RI 5HVLGHQFHRI)LUVW/LVWHG 3ODLQWLII            Norfolk County, MA                          &RXQW\ RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
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      F      $WWRUQH\V(Firm Name, Address, and Telephone Number)                                                $WWRUQH\V(If Known)

 See Attachment 1
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          VHFWLRQ EODQN)RUDOORWKHUFDVHVLGHQWLI\WKHGLYLVLRQDO YHQXHDFFRUGLQJWR&LYLO/RFDO5XOH³WKHFRXQW\ LQZKLFKDVXEVWDQWLDOSDUWRI WKH
          HYHQWVRU RPLVVLRQVZKLFKJLYHULVHWR WKH FODLP RFFXUUHG RULQZKLFKDVXEVWDQWLDOSDUWRI WKH SURSHUW\WKDWLVWKHVXEMHFWRI WKH DFWLRQLVVLWXDWHG´
   'DWHDQG$WWRUQH\6LJQDWXUH 'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
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                                        Attachment 2
                                         Defendants

OpenAI, Inc., a Delaware nonproﬁt corporation; OpenAI, L.P., a Delaware limited partnership; O PENAI
OPCO, L.L.C., a Delaware limited liability corporation; OPENAI GP, L.L.C., a Delaware limited liability
company; OPENAI STARTUP FUND GP I, L.L.C., a Delaware limited liability company; OPENAI STARTUP
FUND I, L.P., a Delaware limited partnership; and OPENAI STARTUP FUND MANAGEMENT, LLC, a
Delaware limited liability company
